     Case 1:21-cv-05337-SCJ Document 261 Filed 06/08/23 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


ALPHA PHI ALPHA FRATERNITY                       CIVIL ACTION FILE
INC., et al.,
  Plaintiffs,                                    No. 1:21-CV-5337-SCJ

v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,
  Defendant.
____________________________________
COAKLEY PENDERGRASS et al.,                      CIVIL ACTION FILE
  Plaintiffs,
                                                 No. 1:21-CV-5339-SCJ
v.

BRAD RAFFENSPERGER et al.,
  Defendants.
____________________________________
ANNIE LOIS GRANT et al.,                         CIVIL ACTION FILE
   Plaintiffs,
                                                 No. 1:22-CV-122-SCJ
v.

BRAD RAFFENSPERGER et al.,
  Defendants.



                 SECOND AMENDED SCHEDULING ORDER
     Case 1:21-cv-05337-SCJ Document 261 Filed 06/08/23 Page 2 of 3




         The Court previously abstained from ruling on the pending Motions for

Summary Judgment in the cases sub judice in anticipation of the United States

Supreme Court’s opinion in Allen v. Milligan, No. 21-1086, 2023 WL 3872517

(U.S. June 8, 2023). The Supreme Court has now issued its Allen opinion and this

Court deems it proper to move forward. Accordingly, the Court VACATES its

May 19, 2023 Amended Scheduling Order and issues the following

Second Amended Scheduling Order in its place.

    Deadline to file supplemental              June 22, 2023
    briefing on the motions for
    summary judgment and responses
    thereto1
    Pretrial conference                        August 15, 2023 at 10:00 A.M.

    Deadline to file proposed                  July 25, 2023
    consolidated pretrial order
    Deadline to file Daubert motions           July 25, 2023

    Deadline to file motions in limine         July 25, 2023

    Deadline to file objections to video       July 25, 2023
    depositions




1 The Court will permit the Parties to file only one supplemental brief (25 pages in
length or less). At this time, no responses will be permitted.
                                           2
     Case 1:21-cv-05337-SCJ Document 261 Filed 06/08/23 Page 3 of 3




    Deadline to file responses to            August 1, 2023
    motions in limine, Daubert motions,
    and video deposition objections2
    Trial (if applicable) begins3            September 5, 2023
    Deadline to file proposed findings       September 25, 2023
    of facts and conclusions of law


        The Court reserves the right to amend this scheduling order at a future

date.

        IT IS SO ORDERED this 8th day of June, 2023.



                                         HONORABLE STEVE C. JONES
                                         UNITED STATES DISTRICT JUDGE




2 The parties shall meet and confer prior to submitting objections to the deposition
designations and counter-designations in a good faith effort to resolve objections prior
to trial.
3
 As stated in the March 20, 2023 Coordinated Order, all proceedings will be in person
and held in Courtroom No. 1907, in the Richard B. Russell Federal Building and United
States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303. Unless otherwise
notified, all proceedings will begin at 9:00 AM.
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